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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Wendy Layne Fox,                               )       Case No. 1:16-cr-192
                                               )
               Defendant.                      )


       On October 25, 2016, the Pretrial Services Office was advised by the Heartview Foundation

that it was terminating defendant from its inpatient treatment program in Cando, North Dakota.

Consequently, that court signed a petition for action on defendant's conditions of pretrial release and

directed the Clerk's office to issue an arrest warrant for defendant.

       On October 26, 2016, the Heartview Foundation contacted the Pretrial Services Office to

advise that it had reconsidered its decision and that defendant could remain in its inpatient treatment

program. Accordingly, the court DISMISSES the petition for action on defendant' conditions of

pretrial release on its own motion and QUASHES the arrest warrant for defendant.

       IT IS SO ORDERED.

       Dated this 27th day of October, 2016.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
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